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                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF NEW YORK
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SARAH CREWS,
                             Plaintiff,
                                                      Docket No. 3:17-cv-00213-MAD-DEP
vs.                                                   JURY TRIAL DEMANDED

THE CITY OF ITHACA,
JOHN R. BARBER, Chief of Police, and
PETE TYLER, Chief of Police,
                 Defendants.

                                FIRST SUPPLEMENTAL COMPLAINT



          PLAINTIFF, SARAH CREWS (Crews), by her attorney, Edward E. Kopko, as

and for her First Supplemental Complaint, hereby complains against the Defendants,

City of Ithaca (the City), John R. Barber (Barber) and Peter Tyler (Tyler) as follows:


                                          SUMMARY OF ACTION

          1.        Crews is a police officer employed by the City.

          2.        Crews is openly gay female and identifies as gender non-conforming.

          3.        Crews alleges that Crews’ employer, the City of Ithaca, by the City

Police Department (“IPD”), discriminated against her, based on sex, including her

gender non-conformity and sexual orientation.

          4.        Crews has been forced by discriminatory, hetero-normative and sexual

stereotypical IPD customs and policies to transport and physically search female

prisoners simply because Crews is identified as female. These customs and policies,

as identified more fully herein, are expressly sex-to-sex – e.g. women should deal

with women, men should deal with men.
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       5.     Crews has continually expressed that these customs and policies put

Crews’ employment in jeopardy because female prisoners recognize that Crews is

openly gay and gender-conforming and, on multiple occasions, have threatened to

make false sexual abuse allegations against Crews.

       6.     Worse yet, Crews has expressed that she is forced, unlike her male

peers, into an excessive amount of physical encounters with women simply because

of these discriminatory, stereotypical policies.

       7.     Despite Crews’ objections, the IPD has continued to force Crews to

transport, jail, and physically search female prisoners more often than her

heterosexual male peers who are also on duty. Further, the IPD has stood behind its

outdated, stereotypical, and inherently discriminatory policies when Crews, and

those acting on Crews’ behalf, have advocated for modern, inclusive policies that

recognize lesbian, gay, bisexual, transgender and/or queer/questioning (“LGBTQ”)

officers and citizens.

                                   DEFINITIONS

       8.     Gender non-conforming refers to a person who does not conform to

society's expectations of gender expression based on the gender binary (either male

or female) expectations of masculinity and femininity, or how a person should

identify their sex.

       9.     Gender refers to the collection of society's assumptions, expectations,

and traditions for how a person of a particular sex is supposed to act and/or be

treated by others.

       10.    Sex refers to the categorization of people at birth into “male,” “female,”

or “intersex” categories based upon physical characteristics such as anatomy,

chromosomes, and hormones.

       11.    Sexual orientation refers to an individual's physical, romantic and/or

emotional attraction to members of the same and/or opposite sex.


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        12.   Heterosexual refers to people whose enduring physical, romantic,

and/or emotional attraction is to people of the opposite sex.

        13.   Gay and/or homosexual refers to people whose enduring physical,

romantic, and/or emotional attractions are to people of the same sex.

        14.   Hetero-normative is the concept that people fall into distinct gender

categories (man and woman). It presupposes that heterosexuality is the only sexual

orientation or only norm, and assumes that sexual and marital contact only occurs

and/or is only fitting between people of opposite sexes.

                           PARTIES AND JURISDICTION

        15.   At all times relevant hereto, Crews was a resident of the State of New

York.

        16.   At all times pertinent herein, the City was and is a municipal

corporation duly organized and existing under the laws of the State of New York

with its principal offices located in City Hall, City of Ithaca, State of New York.

        17.   At all times pertinent herein, the defendant City operated and oversaw

IPD, a law enforcement department of the City.

        18.   Upon information and belief, at all times pertinent, IPD Police Chief,

John R. Barber (Barber), is and was a resident of Tompkins County, State of New

York, and was an employee of the City, with principal offices located at 120 E Clinton

Street, Ithaca, New York 14851.

        19.   Barber is sued in his individual capacity, and official capacity, as a

policy-maker of the City, an enforcer of the discriminatory policies, as a person who

was directly responsible for the discriminatory conduct stated in this complaint, and

as a person who aided and abetted the doing of the acts forbidden under New York

Executive Law § 296.

        20.   Upon information and belief, at all times pertinent, IPD Police Chief,

Pete Tyler (Tyler), is and was a resident of Tompkins County, State of New York, and

was an employee of the City, with principal offices located at 120 E Clinton Street,
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Ithaca, New York.

      21.    Tyler is sued in his individual capacity, and official capacity, as a

policy-maker of the City, an enforcer of the discriminatory policies, as a person who

was directly responsible for the discriminatory conduct stated in this complaint, and

as a person who aided and abetted the doing of the acts forbidden under New York

Executive Law § 296.

      22.    The City, wherein the events or omissions giving rise to the claims

occurred, is within the jurisdiction of the United States District Court, Northern

District of New York. Accordingly, venue is proper under 28 USC § 1391(b)(2) and

related provisions.

      23.    On or about August 11, 2016, Crews properly filed a complaint for

sex discrimination against defendants with the U.S. Equal Employment

Opportunity Commission (Buffalo, New York office).

      24.    On November 28, 2016, the EEOC issued a Notice of Right to Sue.

Pursuant to this notice, and within 90 days of receiving the same notice, Crews

was permitted to file this lawsuit.

      25.    On February 23, 2017, within 90 days of the EEOC’s issuance of

the right to sue letter, Crews filed a Complaint (Dkt. 1) in the United States

District Court for the Northern District Court, alleging eight cause of action,

including one, sex discrimination under Title VII (gender nonconformity): two,

sex discrimination under Title VII (sexual orientation); three, retaliation under

Title VII; four, hostile work environment; five, sex discrimination in violation

of NYHRL § 296; six, sexual orientation discrimination in violation of NYHRL

§ 296; seven, retaliation in violation of NYHRL § 296; and eight, 42 U.S.C. §

1983, Fourteenth Amendment denial of due process.

      26.    On June 22, 2017 Defendants filed a motion to dismiss (Dkt. 15),

which Crews opposed.


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      27.   On March 21, 2018 the United States District Court for the

Northern District of New York, the Honorable Mae A. D’Agostino, United

States District Judge, Presiding, issued a Memorandum-Decision and Order

(Dkt. 22) which denied in part and granted in part Defendants’ motion to

dismiss.

      28.   In particular, the District Court granted Defendant City’s motion

to dismiss Crews’ Fourth Cause of Action for hostile work environment, and

denied the City’s motion to dismiss Crews’ First Cause of Action for sex

discrimination under Title VII (gender nonconformity), Second Cause of

Action for sex discrimination under Title VII (sexual orientation), Third Cause

of Action for retaliation under Title VII, Fifth Cause of Action for sex

discrimination in violation of NYHRL § 296, Sixth Cause of Action sexual

orientation discrimination in violation of NYHRL § 296, Seventh Cause of

Action for retaliation in violation of NYHRL § 296, and Eighth Cause of Action

for 42 USC § 1983 Fourteenth Amendment denial of due process.

      29.   The District Court also granted Defendant Barber’s motion to

dismiss Crews’ First Cause of Action for sex discrimination under Title VII

(gender nonconformity), Second Cause of Action for sex discrimination under

Title VII (sexual orientation), Third Cause of Action for retaliation under Title

VII and Fourth Cause of Action for hostile work environment, and denied

Defendant Barber’s motion to dismiss Crews’ Fifth Cause of Action for sex

discrimination in violation of NYHRL § 296, Sixth Cause of Action for sexual

orientation discrimination in violation of NYHRL § 296, Seventh Cause of

Action for retaliation in violation of NYHRL § 296, and Eighth Causes of

Action for 42 USC § 1983 Fourteenth Amendment denial of due process.

      30.   On or about February 23, 2019 Crews properly filed a second

charge with the EEOC alleging sexual orientation and gender discrimination

and retaliation under Title VII of the Civil Rights Act of 1964, as amended (42
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U.S.C. Sex. 2000e et seq.), and Article 15 of the New York State Human Rights

Law (NY Exec. § 296).

       31.    On or about April 10, 2019 the EEOC issued a Right to Sue letter to

Crews.

                                        FACTS

       32.    Crews has been in law enforcement since 2002, and she began

employment with the IPD in 2007.

       33.    Crews has always been an openly gay law enforcement officer.

       34.    Crews has never conformed to sex stereotypes.

       35.    While some employees in the IPD have been accepting of her sexual

orientation and non-conforming gender characteristics, others have insidiously

bullied her for her appearance and affect.

       36.    As well as the recent events that this complaint addresses, Crews has

also suffered historical discrimination in her employment at the IPD.

       37.    In her time at the IPD, when she was a recent hire, at least one fellow

officer from the night shift posted a fake “McLovin” driver’s license photo in the

men’s locker room.

       38.    The posting had a photograph of Crews’s face superimposed on the

driver’s license, and the “McLovin” reference was based on an “uncool” sex-obsessed

male character in the movie Superbad.        This image was highly derogatory and

offensive.

       39.    Two officers were ultimately disciplined for this “McLovin” event.

       40.    IPD policy requires uniformed police officers to wear a uniform, with a

hat, and options include wearing a tie. However, in actual practice and custom, the

majority of police officers do not wear a tie with a uniform.

       41.    Crews chooses to regularly wear a tie with the uniform.

       42.    Crews’ use of the tie, a traditionally male article of clothing, further

exacerbates the implicit and subtle discriminatory behavior and bias of her peers
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because it further triggers the gender and sexual orientation stereotypes when a

female and lesbian officer wears a traditionally male article of clothing.

       43.       Further, in Crews’ time at the IPD, some fellow officers have referenced

Crews as looking like a “bus driver” when Crews wears a police hat and full

uniform.

       44.       In general, and in specific reference to her uniform, IPD officers have

used non-verbal cues and behaviors to exclude Crews from the peer group.

       45.       Whenever Crews has brought the aforementioned concerns of

discrimination to her superiors, including Barber, they have ignored her concerns,

inappropriately and ineffectively disciplined the offending officers or engaged in

victim-blaming of Crews.

       46.       In 2011, IPD policies for searching and transporting prisoners were

modified. The transport policy includes:

             •   “Whenever possible, officers of the same gender as the prisoner will
                 transport prisoners. Officers transporting prisoners of the opposite
                 gender will notify the 911 Center of their destination, and starting and
                 ending mileage. They will proceed without delay on the most direct
                 route, and will notify the 911 Center of any delays encountered.” (City
                 Police Department, GO-3019, Re: Prisoner Transport and Security,
                 Section III [Procedures for transporting prisoners – Transportation
                 Procedures] eff. 3/22/11).

The search policy includes:


             •   “Searching of a female prisoner shall be accomplished by an on-duty
                 female police officer, or other qualified female person when possible. If
                 there is not a qualified female available the shift commander will be
                 notified to make arrangements to provide one. The prisoner will
                 remain secured and under constant supervision until a female officer
                 can complete the search.” City Police Department, GO-3020, Re: City
                 Jail Regulations, Procedures, Section III[4] [Admission Procedures]). …

             •   “A search incident to arrest should generally be conducted by an officer
                 of the same gender. If an officer of the same gender is not present,
                 notify the Shift Commander in order to make arrangements to provide

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             one. The prisoner will remain secured and under constant supervision
             until an officer of the same gender can complete the search.” (City
             Police Department, GO-3019, Re: Prisoner Transport and Security,
             Section III [Procedures for transporting prisoners – Vehicle and
             Prisoner Searches] [eff. 3/22/11).

      47.    Further, the IPD also has supervision policies for the jail, to wit:

             “Supervision of female prisoners shall be accomplished by a female
             jailer and a female prisoner shall not be placed in or removed from a
             detention area unless the female jailer is present. The female jailer shall
             retain the key for the detention area unless the female jailer is present.
             The female jailer shall retain the key for the detention area for females
             and no male person shall be permitted to enter an area where female
             prisoners are detained unless accompanied by the female jailer.”

      48.    The aforementioned policies, as well as the policies that preceded them,

concerned Crews because they relied on a hetero-normative ideology and subjected

Crews to this framework, in which she did not fit because Crews is gender-

nonconforming.

      49.    Per the policies and the offspring of the policies, the IPD forces Crews,

of non-conforming gender, to transport, search, and otherwise monitor female

prisoners more frequently than male officers.

      50.    As an example, IPD employees cite these policies when requesting

and/or ordering Crews to take female prisoners to the restroom.

      51.    As another example, IPD employees cite these policies when requesting

and/or ordering Crews to physically search a female arrestee.

      52.    Like many police departments, the IPD has an overwhelmingly male

heterosexual staff, but the population they deal with is a more even mix of men and

women.

      53.    In execution, by citing and leveraging the plain language of these

hetero-normative policies, IPD employees have placed Crews into an inordinate

amount of compromising situations wherein Crews is forced into interactions, often

physical, with female prisoners while male IPD employees avoid these interactions.
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      54.    In March 2011, Crews’ concerns were exacerbated by an encounter she

had with a female prisoner.

      55.    In this March 2011 encounter, Crews was assigned to supervise the

prisoner only because Crews was the only officer available who the IPD identified as

female. This prisoner harassed Crews, saying Crews’ prisoner checks were sexually

motivated in frequency.

      56.    The prisoner also threatened to fabricate sexual harassment allegations

against Crews. At one point, the female prisoner began masturbating in Crews’

presence and said, “Hey big gay woman, you want some of this? I’m gonna make it

up that you did something to me.”

      57.    After this encounter, Crews began voicing concerns to superiors

identifying that these sex-to-sex, stereotypical policies were close-minded and failed

to recognize and protect LGBTQ officers and citizens. In the following years, Crews

made dozens of verbal complaints about these policies when these policies were

cited by fellow employees.

      58.    On May 29, 2015, Officer Crews gave her formal notice of her objection

to the aforementioned policies, emailing Sergeant Banfield and Sergeant Nelson an

email that stated the following:

             “Sgt Banfield

             I am giving you formal notice of my objection to my functioning as
             jailer to female prisoners, as required under GO-3020, City Jail
             Regulations. Male officers are prohibited from jailing female prisoners,
             for reasons you claim not to know. This regulation presumably
             protects male officers from allegations of improper contact (implicitly
             sexual contact) with female prisoners. This policy is discriminatory
             because it provides protections to my heterosexual male coworkers that
             it fails to provide to me as an openly, and obviously, gay female.

             On more than one occasion I have been directly threatened by female
             prisoners who have told me they would fabricate claims against me. I
             have tolerated this for years, and have verbally brought my concerns to
             supervisors. I have been ridiculed and treated with hostility because I
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                expressed my concerns. I have reached the point where I can no longer
                tolerate this situation.

                As IPD is reworking the General Orders during the accreditation
                process, it would be an ideal time to review the policy and find a
                workable solution to this issue. I expect that if the administration sees
                fit, reasonable accommodations can be made to protect my rights.

                Please bear this in mind when assigning jail duties to me in the future.
                Ofc Crews”

          59.   In the month following this formal notice, Crews was more frequently

 assigned to her non-preferred beats – a beat that was at the bottom of her list of

 requested beats.

          60.   There are five primary beats covered by the IPD – four car beats and

 one walking beat.

          61.   IPD officers regularly request their beat preferences, and the beat

 preferences vary amongst the officers.

          62.   In June and July of 2015, the IPD retaliated against Crews for

 complaining about the discriminatory, stereotypical policies by assigning her to beats

 she did not prefer nor request.

          63.   In the forty days prior to Officer Crews’ email to Sergeant Banfield,

 Crews was scheduled off Crews’ preferred 204-beat four times; in the forty days

 following Crews’ email, Crews was scheduled off Crews’ preferred 204-beat fourteen

 times.

          64.   On July 29, 2015 at approximately 5:30 am, Crews was on patrol and

 was called in to take a female prisoner to the restroom.

          65.   When she arrived, Crews found that a male officer had already taken

 the female prisoner to the restroom.

          66.   Crews vented her frustration to her Sergeant, explaining, again, that

 she found the jail and search policies discriminatory because she was, from a sexual

 orientation standpoint, in the exact same position as the heterosexual male officers.
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       67.      As she vented her frustration to the Sergeant, Crews was particularly

 distraught because the IPD had recently assigned her a string of non-preferred beats

 because she had complained of its hetero-normative policies.

       68.      Crews expressed that, notwithstanding Crews’ sexual orientation and

 gender-nonconformity, Crews was forced to have an inordinate amount of physical

 encounters with female prisoners.

       69.      Sergeant Nelson then accused Crews of trying to get out of work,

 claiming that Crews was barring herself from searching and jailing men and women.

 Nelson’s claim was patently false.

       70.      Crews always searches and jails women when necessary and Crews has

 expressed no objection to searching and jailing men. In fact, IPD policy states that

 females can jail male inmates, but male offices cannot jail female inmates.

       71.      At no time has Crews ever been prohibited from searching a male

 inmate.

       72.      By the end of this confrontation in July 2015, Nelson had accused

 Crews of insubordination.

       73.      Nelson stated in a report concerning the July, 2015 confrontation that “I

 believe Ofc Crews attempts to and continues to use her sexual orientation as an

 excuse to avoid work that she does not like and attempts to intimidate staff by using

 threats of a lawsuit when she is given any direction or beat that she feels that she

 does not wish to work.”

       74.      This statement demonstrates the type of dismissive and belittling

 attitude that Crews regularly faces when expressing her concerns over policies,

 customs, and procedures, in this case that Crews’ complaints are being interpreted

 not as legitimate, sincere concerns about discrimination, but are merely ploys to get

 out of work, an absurd conclusion considering Crews’ lengthy career in law

 enforcement.


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        75.    On October 14, 2015, as a result of the confrontation on July 29, 2015,

 Crews received a notice of discipline charging her with violation of the IPD’s

 insubordination policy and courtesy policy.

        76.    IPD issued the aforementioned insubordination charge against Crews

 because she spoke out against its discriminatory policies.

        77.    Since receiving the first notice of discipline, Crews has not wavered in

 her open objections to the IPD’s discriminatory, hetero-normative policies.

        78.    On June 6, 2016, shortly after 9:00 pm, Sergeant Nelson called Crews

 into IPD headquarters to perform a search of a female prisoner.

        79.    Upon arriving at headquarters, Crews saw a host of male heterosexual

 officers available to search the prisoner.

        80.    There and then, Crews realized that the IPD was using the stereotypical

 policies to highlight her gender-nonconformity, ostracize her from her peer group,

 make her uncomfortable, and discriminate against her, and Crews started crying.

        81.    A male lieutenant saw Crews crying, approached her, and repeatedly

 asked her to come to his office, never directing Crews to commence a physical search

 of the female prisoner.

        82.    Once Crews was in the lieutenant’s office, the lieutenant told her that

 he was her superior officer for the shift and he did not reiterate, in any way, that

 Crews must still search a female prisoner on the premises.

        83.    At no point on June 6, 2016 did anyone tell Crews that she was being

 insubordinate or discourteous.

        84.    Nonetheless, on July 27, 2016, Crews was issued another notice of

 discipline which alleged that she violated IPD Rules and Regulations pertaining to

 insubordination and courtesy for her actions on June 6, 2016.

        85.    As indicated previously, Crews never refused to perform this search on

 June 6, 2016; she was simply too upset to immediately enact it when she arrived at

 headquarters and then she was redirected to her lieutenant’s office.
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        86.    IPD’s act of generating this notice of discipline of July 27, 2016 is

 evidence of the retaliation Crews has suffered, and continues to suffer, because she

 has spoken out against the discriminatory, hetero-normative policies.

        87.    Further, this same notice of discipline from July 2016 also charged

 Crews with insubordination and discourtesy for a situation that occurred on April

 18, 2016, more than three months prior.

        88.    Upon information and belief, the IPD leveraged this additional notice

 against Crews as another means of retaliation.

        89.    The additional charge regarded conversations Crews had with a

 sergeant for using the f-word.

        90.    The IPD has no custom or practice of otherwise penalizing officers for

 using the f-word amongst themselves.

        91.    Dialogue between IPD employees, as in most police departments, can

 be coarse at times, but that coarseness, unless it becomes extreme, is not customarily

 penalized by the IPD.

        92.    Crews’ notice of discipline for using the f-word is an anomaly, and, as

 such, is evidence of the retaliation she continues to suffer.

        93.    During all times Crews has asked the IPD to address LGBTQ

 protections and/or acknowledgments in its policies, the IPD and the City have shown

 no substantive interest or effort to modify the discriminatory policies.

        94.    On June 12, 2016, Lieutenant Jeffrey Cole and Sergeant Matthew Cowen

 told Crews that if she wanted new policies, she should propose and write them

 herself by the end of the month.

        95.    Crews told them that she did not have the legal qualifications or

 training to propose language for modern policies.

        96.    Crews asked that the IPD to obtain assistance in writing these policies

 from someone who was legally qualified and trained.


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        97.     Upon information and belief, the City of Ithaca has recently hired a

 consultant to update the IPD policy manual for New York State accreditation, but the

 City has not used this consultant in modifying the discriminatory, hetero-normative

 policies.

        98.     Further, upon information and belief, Crews’ Union attorney, proposed

 to the City’s Legal Counsel that, as a means of resolving the discipline charges, the

 City create a committee (which would include Crews) to create policies that protect

 against the sexual orientation and gender and sex discrimination of arrestees and

 police officers.

        99.     Attorney Grant highlighted to the City’s Legal Counsel that the Albany

 Police Department has started taking such initiative to update their policies for

 LGBTQ protections, including, within their policies, definitions for gender, sexual

 orientation, gender identity, transgender, gender nonconforming and intersex.

        100.    The City ignored Attorney Grant’s proposal of adding LGBTQ

 protections to its policies.

        101.    Upon information and belief, the City continues to ignore such LGBTQ-

 friendly policy updates despite having received a low ranking from the Human

 Rights Campaign (the largest LGBTQ civil rights organization in the United States)

 for LGBTQ-friendly legislation.

        102.    Since the filing of her first EEOC Charge, Crews has routinely been

 subjected to ongoing and continuous acts discrimination and retaliation, culminating

 in the issuance of a Notice of Discipline filed against her by IPD on January 10, 2019.

        103.    On or about June 27, 2018 Crews was ordered to perform a strip search

 of a female inmate, despite her protestation to this policy as discriminatory. Crews

 informed her supervisor that she was upset and no longer in a condition to continue

 work, and requested to use six hours of sick leave for the remainder of her shift.

 Crews’ supervisor denied her request, forcing her to use personal time and causing

 her to miss out of hour hours of overtime pay.
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       104.    On July 7, 2018 Crews was informed that IPD had two females in

 custody that needed to be stripped searched. Despite IPD’s knowledge that Crews

 objected to performing strip searches of female inmates, because, as a lesbian, she

 was, for all intents and purposes, in the same position as males vis-à-vis strip

 searches, Crews was nevertheless instructed to go IPD to conduct the strip searches.

 When Crews asked why the inmates needed to be strip-searched, Crews was

 informed that only one of the women needed to be searched. Crews’ search of the

 female inmate confirmed the inmate’s claim she was not carrying anything, thus

 demonstrating the search was unnecessary.

       105.    On August 10, 2018 Crews was ordered to IPD to “assist with a female”

 in custody.      Upon arrival, Crews was directed to accompany the female to the

 bathroom, which required Crews observing the female using the bathroom. Crews

 has repeatedly raised her objections to such orders as discriminatory.

       106.    On or about September 30, 2018 Crews was bypassed for assignment as

 Acting Sergeant, known as Officer in Charge (“OIC”) in favor of a lower-ranking

 male officer. An OIC is a position of significant responsibility; the OIC having the

 same responsibilities, duties, and authority of an on-duty supervisor.       While a

 supervisor eventually arrived to cover the shift, a junior male officer was

 nevertheless initially asked to perform the OIC position despite Crews’ senior

 ranking and qualifications, qualifying her for the position of OIC. IPD’s denial of

 Crews’ OIC assignment coincided with the written discovery deadline for this

 pending case that originated from Crews’ original EEOC charge. Crews’ request for

 a written explanation regarding IPD’s decision was later denied, and Crews was

 informed that her supervisor had told IPD staff that he was not “comfortable with

 [her] as OIC.”

       107.    On November 5 and 11, 2018 Crews was again passed over the OIC

 position in favor of a lower-ranking officer. Pursuant to the IPD contract, the OIC is


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 assigned by seniority, and an officer may only be blocked from serving as an OIC by

 the Chief’s determination.

        108.   In addition to suffering the humiliation, disrespect, and indignity of

 being passed over the OIC position in favor of a lower-ranking, less experienced,

 male colleague, Crews also lost the higher hourly reimbursement she would have

 been entitled to.

        109.   On November 21, 2018 Crews received a Notice of Investigatory

 Interview, dated November 20, 2018.           The date of this Notice coincided with a

 conference call between the parties’ legal counsel that occurred that day regarding

 depositions and mediation on the pending litigation.

        110.   On December 12, 2018 the depositions of Chief of Police, John Barber,

 and City of Ithaca Director of Human Resources, Schelley Michelle-Nunn, took place.

 Later that same day, Crews was assigned to an overtime beat shift, different from the

 one she held every shift in the year prior.

        111.   On December 21, 2018 Crews was again assigned to that different beat

 assignment. The supervisor who assigned Crews to these beat assignments was

 Sergeant Barry Banfield, who had been cited in Crews’ first EEOC Charge for

 retaliation, and who had previously created and disseminated a cruel and offensive

 poster ridiculing Crews’ gender non-conforming appearance.

        112.   On December 24, 2018 Crews was notified without explanation that her

 holiday overtime assignment, scheduled for December 25, 2018 has been cancelled.

 Notably, no one else had their overtimes shift cancelled. Crews lost $720 as a result

 of this last-minute cancellation; twenty-four (24) hours at $30.00 per hour.

        113.   On January 3, 2019 Crews was notified by email that she would be

 issued a notice of discipline at 2:00 PM on January 10, 2019. No further information

 was provided regarding the basis of the notice of discipline, which she received on

 January 10, 2019.


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       114.   The January 10, 2019 Notice of Discipline claims that on five dates

 (April 22, 2018, June 27, 2019, July 31, 2018, August 24, 2018, and October 11, 2018),

 Crews violated IPD Rules and Regulations governing obedience to law and rules,

 insubordination, courtesy, assistance to citizens, and conduct. Crews denies and has

 contested these claims, which will be determined at a currently-pending arbitration

 hearing.

       115.   As per the Notice of Discipline, IPD seeks to penalize Crews thirty (30)

 days of unpaid suspension, and impose a Performance Improvement Plan, that

 places Crews under ever greater monitoring and scrutiny, mandates training on

 “anger management” and “emotional survival,” and requires a monthly performance

 review for a period of twelve (12) months.

       116.   In essence, IPD is creating a paper trail to provide the basis for

 terminating Crews from her position while at the same time requiring that she

 adhere to discriminatory policies or risk charges of insubordination.

       117.   On February 15, 2019 Lieutenant Joly directed IPD dispatch to assign

 Crews to transport a female who had been picked up on a warrant. Crews was the

 senior officer on duty and several junior officers were available for this task. Crews

 asked Lieutenant Joly if she was assigned to the transport because the individual was

 female, which the Lieutenant confirmed. Crews reiterated her position that this was

 discriminatory, but, notwithstanding, performed this task as ordered to do so.

       118.   On April 3, 2019 the Tompkins County Sheriff’s Department issued a

 new General Order 720 for dealing with transgender and gender non-conforming

 persons.

       119.   Upon information and belief, the Tompkins County Sheriff is working

 on applying the same or similar protections to similarly situated employees.

       120.   On April 6, 2019 at 3:09 AM, IPD Sergeant David Amaro ordered Crews

 to come in for the remainder of her shift, as a female prisoner was brought in who

 needed to be jailed because she is being charged with attempted assault on an officer.
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 Crews responded that the directive was discriminatory, and asked why the prisoner

 could not stay on the bench. Sergeant Amaro responded that because the prisoner is

 being charged with an attempted assault on an officer, she needs to stay in a cell.

 Crews stated that she was being discriminated against; that the policies are

 discriminatory, and that Sergeant Amaro was discriminating against her.

        121.   At the time Crews was ordered to respond to IPD to jail a female

 prisoner on April 6, 2019, Crews was working an overtime shift. Had Crews not

 been working this overtime shift, only male officers would have been working. A

 similar incident occurred on February 12, 2019 when Crews was on duty until 3:00

 AM. At that time, a female prisoner was in custody. A junior male officer was

 ordered to supervise the female prisoner, who was kept on a “bullring,”

 demonstrating the order given to Crews to respond to IPD on April 6, 2019 was not

 actually necessary, and was done knowing it would upset, humiliate, and anger

 Crews, and was done as an act of further retaliation against Crews for Crews’

 complaints against IPD’s discriminatory acts and policies.

        122.   On April 6, 2019 Crews advised the City’s Director of Human

 Resources, Schelley Michell-Nunn, of this incident, and described the debilitating

 level of stress such situations cause to Crews. Crews also requested that Michell-

 Nunn, as Director of Human Resources, speak with Crews’ supervisors, about ways

 to keep Crews out of such stressful situations in the future.

        123.   On April 18, 2019 Crews attended an arbitration hearing discipling her

 for her use of body worn cameras.

        124.   Later that day, on April 18, 2019, Crews signed up for an overtime shift.

 When Crews works the overtime shift, she is almost always assigned to beat 204.

 The last time Crews was not assigned to beat 204 was in December, 2018, when

 Crews had depositions in connection with this lawsuit. Crews was assigned to beat

 207 (the Ithaca Commons), one of the lowest of Crews’ preferred shifts. Another


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 officer, junior to Crews, and also working overtime, was given beat 201, one of

 Crews’ preferred beats.

        125.   There is a printed list in the IPD staff office, listing officers’ preferred

 beat assignments, and listing Crews’ preferred beat assignments as 201 and 204.

        126.   Changing Crews’ beat assignments in such close proximity to her

 arbitration proceeding, is yet another act of discrimination and retaliation against

 Crews.

        127.   On May 2, 2019 Crews received a call from IPD Sergeant Dupay

 (“Dupay”) and was instructed to respond to a vehicle stop to search a female, where

 the female suspect had asked for a female officer. Crews told Dupay to tell the

 suspect that the responding officer was a bull dyke, to make certain the female

 suspect was okay with being searched by a lesbian. Dupay refused to do this. When

 Crews arrived at the scene, she explained to Dupay that being ordered to conduct the

 search was discriminatory. Crews told the suspect that she was a bull dyke, but

 Dupay told Crews not to get into that with the suspect. The suspect, however, stated

 she would prefer Crews perform the search, even if she is a lesbian. Accordingly,

 Crews proceeded with the search, but found no contraband.

        128.   On May 14, 2019, at about 2:40 AM Sergeant Dupay called Crews to

 advise her she would be jailing a female prisoner, and that assignment would last

 until 8:00 AM or until the day shift took over.

        129.   Earlier that day, on May 14, 2019, Crews learned that she would likely

 be forced to interact with female prisoners because, at or about 12:45 AM, Crews had

 learned of a traffic stop in which female detainees were involved, and that at least

 two females had been arrested.

        130.   As a result of knowing about this traffic stop, and that she would likely

 be asked to search and supervise female prisoners, and that she would once again

 have to face the insidious, derogatory, disrespectful, and demeaning dynamic at her

 workplace, having to once again face off against her supervisors and co-workers, and
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 defend and justify herself, Crews experienced symptoms of anxiety, including

 experiencing sharp pains in her back. As a result, since learning of the traffic stop,

 Crews had been considering leaving work early, but was not sure when she would

 go.

        131.    Thus, Crews, in response to the call from Sergeant Dupay, told him

 that she would not be staying until 8:00 AM, and that when he called Crews, Crews

 was just about to call and request sick time. After the call, Sergeant Dupay did not

 give Crews instructions to search or jail a female prisoner.

        132.   As a result, Crews used four hours of sick time to avoid facing stressful

 discriminatory treatment at work.

        133.   The loss of sick time is significant because sick time can be used to

 purchase health insurance after retirement, and, as such, its value is more than the

 hourly rate of time lost due to illness.

        134.   After Crews spoke to Sergeant Dupay, she returned to her office at the

 end of her shift, and heard dispatch calling a female state trooper to IPD to assist

 with a female prisoner.

        135.   Crews learned later that one of the female prisoners was kept on a bull

 ring while waiting for arraignment.

        136.   IPD has failed to substantively modify its policies and procedures to

 appropriately reflect Crews’ concerns or provide her with equal protection offered to

 her heterosexual male colleagues.

        137.   In fact, IPD has become firmly entrenched in its antiquated policies and

 procedures based upon outdated constructions of gender and sexual orientation.

                     FIRST CAUSE OF ACTION
   SEX DISCRIMINATION UNDER TITLE VII (GENDER NONCONFORMITY)

        138.   Crews incorporates herein by reference the allegations set forth in the

 preceding paragraphs.


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        139.   Crews is gender-nonconforming and does not and cannot conform with

 sex stereotypes that are placed upon her sex.

        140.   At all times pertinent herein, the City is an employer as that term is

 more fully defined in Title VII of the Civil Rights Act (42 U.S.C. § 2000e).

        141.   Crews is an employee of the defendants.

        142.   At all times pertinent herein, the City, Barber, and Tyler tolerated,

 condoned and/or participated in the previously described discriminatory actions and

 omissions against the Crews because Crews was gender-nonconforming and failed to

 fit, like many officers in the IPD, into the sex stereotypical and hetero-normative

 policies of the IPD.

        143.   As a result of the foregoing, the City, Barber, and Tyler discriminated

 against Crews on the basis of Crews’ sex, and, among other things, discriminated

 against the compensation, terms, conditions, or privileges of employment of Crews

 because of Crews’ sex.

        144.   The discrimination against Crews is continuing in nature, with the

 discriminatory, stereotypical, hetero-normative policies remaining active and

 binding in the IPD.

        145.   As a result of the foregoing, the City, Barber, and Tyler engaged in

 unlawful practices as that term is defined in Title VII of the Civil Rights Act.

                     SECOND CAUSE OF ACTION
      SEX DISCRIMINATION UNDER TITLE VII (SEXUAL ORIENTATION)

        146.   Crews incorporates herein by reference the allegations set forth in the

 preceding paragraphs.

        147.   Crews is an openly gay officer in the IPD and has always been

 recognized by her peers and public as the same, and she is gender-nonconforming

 and does not and cannot conform with sex stereotypes that are placed upon her sex.

        148.   At all times pertinent herein, the City is an employer as that term is

 more fully defined in Title VII of the Civil Rights Act (42 U.S.C. § 2000e).
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        149.   Crews is an employee of the defendant.

        150.   At all times pertinent herein, the City, Barber, and Tyler tolerated,

 condoned and/or participated in the previously described discriminatory actions and

 omissions against the Crews because Crews was gender-nonconforming and failed to

 fit, like many officers in the IPD, into the sex stereotypical and hetero-normative

 policies of the IPD.

        151.   As a result of the foregoing, the City, Barber, and Tyler discriminated

 against Crews on the basis of Crews’ sex, and, among other things, discriminated

 against the compensation, terms, conditions, or privileges of employment of Crews

 because of Crews’ sex and sexual orientation.

        152.   The discrimination against Crews is continuing in nature, with the

 discriminatory, stereotypical, hetero-normative policies remaining active and

 binding in the IPD.

        153.   As a result of the foregoing, the City, Barber, and Tyler engaged in

 unlawful practices as that term is defined in Title VII of the Civil Rights Act.

                            THIRD CAUSE OF ACTION
                          RETALIATION UNDER TITLE VII

        154.   Crews incorporates herein by reference the allegations set forth in the

 preceding paragraphs.

        155.   From 2011 onward, on a continuing basis and as explained in the

 foregoing, Crews has complained of the City’s stereotypical, hetero-normative IPD

 policies and identified that they subjected her to sex discrimination.

        156.   Accordingly, Crews complained of unlawful employment practices and

 her complaints were protected under federal law.

        157.   As identified in the foregoing, even prior to her filing of the EEOC

 charges on August 11, 2016 and February 23, 2019, defendant and its agents,

 including Barber, and Tyler, subjected Crews to adverse employment actions for

 engaging in a protected activity, including, but not limited to, changing Crews’ beat
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 assignments, issuing notices of discipline against her for conduct that the IPD has not

 traditionally penalized (e.g. using the f-word in private conversations), and

 leveraging the stereotypical policies to force Crews into uncomfortable scenarios and

 highlight the concept that Crews could not cope well in the stereotypical

 environment that her peer group embraced.

        158.   The City, Barber, and Tyler made these adverse actions against Crews,

 and Crews suffered from these actions, because Crews spoke out against defendants’

 unlawful employment actions.

        159.   Based on the foregoing, the City, Barber, and Tyler committed

 retaliation under 42 USC § 2000e-3 and related provisions.

                           FOURTH CAUSE OF ACTION -
                          HOSTILE WORK ENVIRONMENT

        160.   Crews incorporates herein by reference the allegations in the preceding

 paragraphs.

        161.   Crews was an employee of defendants.

        162.   Based on the foregoing actions by all defendants and its agents against

 Crews, a reasonable person would judge that Crews’ workplace was permeated with

 discriminatory intimidation, ridicule and insult that was sufficiently severe and

 pervasive as to alter the conditions of Crews’ employment.

        163.   A reasonable person would find defendants’ aforesaid conduct to be

 hostile and abusive.

        164.   Crews in fact perceived such conduct as hostile and abusive.

        165.   Such conduct was performed by defendants and its agents because of

 Crews’ sex – i.e. Crews was gender nonconforming and gay – and because

 defendants had no willingness or intention to acknowledge and respect Crews’ sex

 and/or sexual orientation.

        166.   Accordingly, Crews was subjected to a hostile work environment under

 Title VII and related law.
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                           FIFTH CAUSE OF ACTION
               SEX DISCRIMINATION IN VIOLATION OF NYHRL § 296

        167.    Crews incorporates herein by reference the allegations in the preceding

 paragraphs.

        168.    New York State Human Rights Law (Executive Law) § 296(1)(a) makes

 it makes it unlawful “[f]or an employer or licensing agency, because of an

 individual's age, race, creed, color, national origin, sexual orientation, military status,

 sex, disability, predisposing genetic characteristics, marital status, or domestic

 violence victim status, to refuse to hire or employ or to bar or to discharge from

 employment such individual or to discriminate against such individual in

 compensation or in terms, conditions or privileges of employment.”

        169.    New York State Human Rights Law (Executive Law) § 296(6) makes it

 “…unlawful discriminatory practice for any person to aid, abet, incite, compel or

 coerce the doing of any of the acts forbidden under this article, or to attempt to do

 so.”

        170.    Crews is gender-nonconforming and does not and cannot conform with

 sex stereotypes that are placed upon her sex.

        171.    As a result, and as shown by the foregoing, defendants’ policies and

 conduct stemming from the same discriminated against Crews because of Crews’ sex

 because they require Crews to comply with sex stereotypical policies within which

 she cannot function with her own gender-identity.

        172.    At all times pertinent herein, the defendant City, via its agents and

 representatives, including Barber, and Tyler, acted knowingly, intentionally,

 recklessly and/or with wanton disregard for the rights and privileges of Crews to

 have equal employment and non-discriminatory treatment under the law.

        173.    At all times pertinent herein, defendants Barber, and Tyler, aided and

 abetted the unlawful discriminatory acts by actually participating in the conduct

 giving rise to the claims of discrimination here, by aiding and abetting violations
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 committed by other employees or the City itself, and by directing the discriminatory

 conduct in concert with other employees and the City.

        174.   By reason of the foregoing, Crews was discriminated against based on

 her sex.

        175.   As a result of the foregoing, the defendants unlawfully discriminated

 against Crews and otherwise deprived her of her rights under New York State’s

 Human Rights Law.

                     SIXTH CAUSE OF ACTION
  SEXUAL ORIENTATION DISCRIMINATION IN VIOLATION OF NYHRL § 296

        176.   Crews incorporates herein by reference the allegations set forth in the

 preceding paragraphs.

        177.   New York State Human Rights Law (Executive Law) § 296(1)(a) makes

 it makes it unlawful “[f]or an employer or licensing agency, because of an

 individual's age, race, creed, color, national origin, sexual orientation, military status,

 sex, disability, predisposing genetic characteristics, marital status, or domestic

 violence victim status, to refuse to hire or employ or to bar or to discharge from

 employment such individual or to discriminate against such individual in

 compensation or in terms, conditions or privileges of employment.”

        178.   New York State Human Rights Law (Executive Law) § 296(6) makes it

 “…unlawful discriminatory practice for any person to aid, abet, incite, compel or

 coerce the doing of any of the acts forbidden under this article, or to attempt to do

 so.”

        179.   As a result, and as shown by the foregoing, defendant’s policies and

 conduct stemming from the same discriminated against Crews because of Crews’

 sexual orientation – i.e. because Crews was an openly gay officer in the IPD.

        180.   At all times pertinent herein, the defendant City, via its agents and

 representatives, including Barber, and Tyler, acted knowingly, intentionally,


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 recklessly and/or with wanton disregard for the rights and privileges of Crews to

 have equal employment and non-discriminatory treatment under the law.

        181.   At all times pertinent herein, defendants Barber, and Tyler, aided and

 abetted the unlawful discriminatory acts by actually participating in the conduct

 giving rise to the claims of discrimination here, by aiding and abetting violations

 committed by other employees or the City itself, and by directing the discriminatory

 conduct in concert with other employees and the City.

        182.   By reason of the foregoing, Crews was discriminated against based on

 her sexual orientation.

        183.   As a result of the foregoing, the defendant unlawfully discriminated

 against Crews and otherwise deprived her of her rights under New York State’s

 Human Rights Law.

                         SEVENTH CAUSE OF ACTION
                  RETALIATION IN VIOLATION OF NYHRL § 296

        184.   Crews incorporates herein by reference the allegations set forth in the

 preceding paragraphs.

        185.   New York State Human Rights Law (Executive Law) § 296(1)(e) makes

 it makes it unlawful “[f]or any employer…. [to] discriminate against any person

 because he or she has opposed any practices forbidden under this article [the Human

 Rights law]…”

        186.   New York State Human Rights Law (Executive Law) § 296(6) makes it

 “…unlawful discriminatory practice for any person to aid, abet, incite, compel or

 coerce the doing of any of the acts forbidden under this article, or to attempt to do

 so.”

        187.   As a result, and as shown by the foregoing, defendant retaliated and

 discriminated against Crews upon Crews speaking in opposition to its sex-

 stereotypical and hetero-normative policies.


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       188.   At all times pertinent herein, the defendant City, via its agents and

 representatives, including Barber, and Tyler, acted knowingly, intentionally,

 recklessly and/or with wanton disregard for the rights and privileges of Crews to

 have equal employment and non-discriminatory treatment under the law.

       189.   At all times pertinent herein, defendants Barber, and Tyler, aided and

 abetted the unlawful discriminatory acts by actually participating in the conduct

 giving rise to the claims of discrimination here, by aiding and abetting violations

 committed by other employees or the City itself, and by directing the discriminatory

 conduct in concert with other employees and the City.

       190.   By reason of the foregoing, defendants retaliated and discriminated

 against Crews.

       191.   This retaliation was demonstrated largely by defendants issuing the

 afore-discussed disciplinary notices to Crews and by defendant changing Crews’

 beat-assignments to less preferred beats immediately after she formally addressed

 her opposition to, and concerns about, the sex and/or sexual orientation

 discrimination in the IPD.

       192.   As a result of the foregoing, the defendants unlawfully discriminated

 against Crews and otherwise deprived her of her rights under New York State’s

 Human Rights Law.

                          EIGHTH CAUSE OF CAUSE
   42 U.S.C. § 1983, FOURTEENTH AMENDMENT, DENIAL OF DUE PROCESS

       193.   Crews incorporates herein by reference the allegations set forth in the

 preceding paragraphs.

       194.   42 U.S.C. § 1983 provides a civil cause of action for individuals who are

 deprived of any rights, privileges, or immunities secured by the Constitution or

 federal laws by those acting under color of state law.

       195.   Crews has stated a claim for relief pursuant to § 1983 in connection

 with her sex-based claim of employment discrimination.
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        196.   Crews has a right, protected by the Equal Protection clause of the

 Fourteenth Amendment, to be free from discrimination on the basis of sex in public

 employment.

        197.   Crews has suffered purposeful or intentional discrimination by the City

 and Barber and Tyler on the basis of gender.

        WHEREFORE, on the first, second, third, fourth, fifth, sixth, seventh, and

 eighth causes of action, and as a result of the foregoing, Crews demands judgment

 against the defendants, jointly and severally:

        a. in an amount of monetary damages for past and future pain and suffering;

        b. in an amount of monetary damages for past and future loss of income;

        c. punitive damages against John Barber;

        d. punitive damages against Pete Tyler;

        e. an award of attorney fees and costs and expenses;

        f. injunctive relief against the City of Ithaca prohibiting further illegal and

           discriminatory conduct as described in this complaint; and,

        g. for such other and further relief which to the Court is just and proper.

                              DEMAND FOR JURY TRIAL

        Pursuant to FRCP 38, Crews hereby demands a trial by jury in this action on

 all claims and issues triable before a jury.




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 Friday, June 21, 2019

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